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January 3, 2018
`VIA E-M_AtL rTo CHAMBERS) AND U.s. MAIL

The Honorable Trevor N. McFadden

United Stat_es District Judge

United States D_istrict Cour“t for the District of Columbia
333 Constitution Avenue, NW

' _ Washington, DC 20001

- Re: Misc. Case No. 1:l7-mc-02171-TNM
fn Re Third Party Subpoena to Fusion GPS in the underlying case of
At'eksej anarev, XBT Holdi'ng S.A., and Webzili'a, Inc. v. Buz;feed, Inc. and
Ben Smt`th

Dear J udge McFadden:

Undersigned counsel for third party Fusion GPS (“Fusion’.’) write to request the Court to
consider whether its recusal is required in this case pursuant to 28 U-S.C.' § 455(3).' Publicly
available information about the Court’s prior work as an attorney at Baker & McKenzie LLP
(hereinafter "‘Baker & McKenzie"), the Court’s prior position as Principal Deputy‘ Assistant
Attorney General in the Department of Justice’ s Criminal Division, and the Court’ s prior work
on the Tr_ump transition raises issues as to whether 1n this case the Court’s “impartiality might
reasonably be questioned. ” 1

7 Fusion has brought this action to quash a subpoena issued by the Plaintiffs A|eksej
Cubarev, XBT Holdings S`. A., and Webzilla, Inc. (refer`red to herein as “the Gubarev Plaintiffs”)
_ seeking both the production of documents and a Rule 30(b)(6) deposition of Fusion. _Ther
discovery sought by the anarev Plaintiffs’ subpoena relates to Pusion`s work in connection
with the so-called “Trump Dossier"_a series of seventeen intelligence reports created between .
June and December 2016 `by a Fusion contractor, Orbis Business Intelligence. Various
intelligence reports in_ the Trump Dossier contain information about Russian interference in the
2016 Presidenti'al election as well as then-candidate Donald Trump’ s alleged business dealings in
Russia and his campaign’ s alleged contacts with Russia and the Kremlin. The discovery sought
by the Gubarev Plaintiffs from Fusion ostensibly relates to their defamation case against
Buzzfeed, which published the Trump Dossier in January 2017. 7

The first matter we wish to bring to the Court s attention relates to the Court’s prior work . '

at Baker & McKenzie. Public information indicates that the _Court represented VimpelCom Ltd.

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in a publicly reported FCPA investigation VimpelCom, now known as Veon, is controlled by
Mikhaii Fridrnan.2 As the Court may be aware, Mikhail Fridrnan. and his business partners Petr
Aven and German Khan in another case pending 111 this district, Case No. I:l7- cv-0204l (RJL)
have sued Fusion and one of its principals, Glenn Sirnpson, for defamation arising out‘of one of
the intelligence reports in the Trump Dossier. Becanse the Gubarev Plaintiffs seek discovery
from Fusion on matters relating to aspects of the Trump Dossier beyond the Decernb`er 2016
intelligence report that concerns them, the 1ssues to be decided by the Court 1n this case are also
relevant to Mr. Fridman’ s case against Fusion.3 It ts clearly' 111 Mr. Fridman’ s interest to have the

Court order the discovery sought by the Gubarev Plaintiffs. `

As the Court may also be aware, Balter & McKenzie-has performed other legal services
for the Alfa Group, one of Russia’s largest privately owned investment groups. Alfa Group is
primarily owned by the plaintiffs suing Fusion in this district, Messrs. Fridrnan, A_ven, and
Khan.4 Aithough publicly available information does not indicate that the Court worked on
matters relating to the Alfa Group, the firm’ s fiduciary duties to its clients extended to all
lawyers m the firm Thus, the Court’ s prior association With Baker & McKenzie is relevant See
28 U. S. C. § 455(1:))(2).

The second matter we wish to bring to the Court’s attention regards the Court’s service as
Principal Deputy Assistant Attorney General in the Depanment of Iustice’s Criminal Division.

 

§ Nr)minari`r)n of Trevor McFac/den m the U.S. Dt`.st. Ct. for the D_istrt`ct of Coluntbr'n, Qne,-rrr'ons for the Record.

Questions from Sen. Feinstein _ (Submitted -_ luly 5, 2017),
httns:f,fwww.iudiciarv.senate.govftn1ofn1ed1`afdoc/Mcf~`§drleg%ZGResgonses%ZOta%Z_G_§§FR§ edf (identifying

 

Vi`rnpelCom as a client' m an FCPA investigation).

l Fridman’ s investment vehicie, Lettert)ne, owns roughly 48 percent of Veon shares and Stichting
Adm'inistratiekantoor Mobile Telecommun_ications lnvestor (the “Stichting”), a foundation controlled by Fridrnan
and incorporated under the laws of the Netherlands, owns an additional approximately 8 percent of Veon shares.-

5 As the Court may also be aware, both the Gubarev Plaintifl`s and Messrs. Friclm_an, Aven and Khan have sued

Buzzfeed (and various individuals associated with Buzzfeed) for defamation in connection with Buzzfeed’s
publication of the Trump Dossier. Fn`d_rnan, Aven and Khan have sued Buzzt`eed, its editor in chief, Ben Srnith, as
well as an investigative reporter and two editors, for defamation allegedly arising from Company lnte|ligence Repon
112 in the Trump Dossier\publi-shed by Buzzfeed. See Fridman et al'. 1'-. anz‘feed er nl_, lndex No. 15489.‘_5/2017,
- Compl. (N,¥. Sup. Ct. May 26, 2017). fl`he Gubarev Plaintiffs have sued Buzzfeed and Smith for defamation
allegedly arising from_a statement in Company intelligence Report 166 the Trump Dossie_r published by Buzzfeed.
See anarev etal. v. Buzzfeederal.. Compi for Damages, Case No l?-cv-60426 (S. D_ Fla. Feb. 28, 2017)

3 See David Stuckey, Baker & McKenzie Advr`se.r Alfa Gmnp on Acqut'sition of Bank of C_v’pms s Ukrninian
Asrers, CEE L.egal Matters (Apr 28 2014),ii;ttgi}ceeiegal111§11ers.eom/nitraine!418 baker»mci<eni:ie advises»alfa»
~on ac_ nisition- o -banlt~o§~_t; rus~s~akrainian~asset , See also UBS and Alfa Bank issue CHF 165 million
bean ' Participation Notes for ABH Financial l.',imited (Dec. l l, 2017),
httn-://www.bakermckenzie.coni/en/ne wsroo 111120§ ?ii 21 tibs~and- al fa-banitaissneaioag¢”ggrticipation~notes)‘,

   

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During the time that the Court served as Principal Deputy Assistant General,- Fusion was the
subject of a request by Senator Grassley that the De espartrnent of Justice investigate Fusion’ s
compliance with the Foreign Agent Registration Act“ Aithough undersigned counsel has no
information that the Court was involved in the Department of Iustice s response to Senator
Grassley, the Department of Justice testified at a hearing held on July 26 27, 2017 regarding
FARA compliance issues during the time of this Court’ s service as a senior official at the
Department of Justice. -

The third, and perhaps most important matter, we wish to bring to the Court’s attention
concerns the work the Court performed for President-elect Trump s transition team. Public
information indicates that the Court “`volunteered as a vetter for President Trump’ s transition
team.” President-elect Trump began making public statements expressing his 3animosity toward
Fusion G_PS and its work relating to the Trump Dossier during the transition3 Mr. Trump has
continued making such statements on a regular basis as President, until the present day.2 lndeed,

 

§ letter from Sen. Charies Grass|ey, Chairman, Comm on the ludictary, to Dana Boente Acting Dep. Att' y Ge`n
(Mar 31, 2017}, _ "’2
- Ma nitslt .%2 PARA%Z{)violation :%2 witb%20attachmeots._ df.

§ Ove1.rr`ght of the F'oreign Agents Regislralion Act and Attempts 10 lnjlnence U S. Election.:r Lesson.s
Learnedji'om Cur.rent and Prfr)r Administrarir)m: Hearings Before the Com.`m 1111 the Judicr'nry, U. S
Senale., llSth Cong. (.luly 26~27,2017},htt`s:/iwww'1xdici ' "

a ents- re'istration act-and~ atte : ts-to- influence-11 -eiections»iessons- learned from current~and~orlor~ »

 
   

 
 
 

 

1 Questionnaire for Jud Notninees, Resp of Trevor Neil McFadden. US Sen Comm on the Judiciary {undated),
211 s:fiwww. udiciar senate ovfir ofmedia!doc/ l ' - ' - ;ZONICFadden.: df'_.

.§- See, e.g., Donald .1. Trump, @realDonaldTrump, `Twr'rrer (Jan. l|, '201')‘, 7:13 AM},
ltttns:I/twitter,cnnureniDonaid'i`rume!statesf$191553.11?93700355 (“Russia_iust said the unverified report paid for
by political opponents is ‘A COMPLETE AND TO'l`ALJ FABRlCATlON-, UTTER NONSENSE-._’ Very
unfairl");' Donald .l; Trump, @realD_o_n_aldTrump, Twiner (jan 14, 2017 5:14 AM),
t 's: / wittez. contireall} nat 'l`:"urn 131111115182 02 1436231<5'?53 ("INTELLIGENCE INSEDERS NOW CLAlM
THE TRUMP DOSSIER IS ‘A COMPLETE FRAUD!’”).

91 Donald J. ' Trump, @realDonaldTrump, th`ner (Oct, 19, 2017, 4:56 AM),
itt;gs:!itwitter.com/realdonaldtrun;pgstatus/QZ{)QSi92073?331’1368‘?lan`g=e11 ("Worl<ers of firm involved with the
discredited and Fake Dossier take the 5th. Who paid for it, Russia, the FBI or the D_ems (or all)‘?“); Donald J
Trump, @realDonaldTrump, . Twr'tter (Oct 21 2017 12: 59 PM),

http§;!§;witter coin/realdonaidtrnmgistatosf9218282809987440§13?§a11g=e11 ("Ofi`rcials behind the now discredited
‘Dossier’ plead the Fift.h Justice Department andfor FBI should immediately release who paid for it. “); Donald 1
Trump, @realDona|dTrump, ` 'r"witrer (Oct, 25, 2017, 4:21 AM),
-https:!/tv.'itter.conu'realdonaidtnzmp{status_/QZ314?5014184-468451?1211111:1111 (“‘Cl'inton campaign & DNC paid for
research that led to the anti*Trump Fake News Dossier.- The victim here is the Presidentl' @FoxNews"): Donald .1.
`Trump, @rea|Don ald’i`rump, Twr'n'er (Oct. 29, 201 7 [four consecutive tweets]),

 

      

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the President’ s adversity to Fusion has been repeatedly expressed by his spokespersonm and has
become an eiement of his political agenda.-.

Given the Court's prior work at Baker &' McKenzie, the Court’s prior work at the
Department of Justicc, and the Court's prior work on President '§`rump’s transition team,
undersigned counsel respectfully suggest that disqualification is required under 28 U,S.C.
§ 455(a). In evaluating its obligations under 28 U.S.C. §455(a), the Court may also wish to
consider its contributions financial or otherwisc, to the Trump for President campaign We are
prepared to brief the question of disqualification in a motion if the Court requests.

 

ht£'p_;s: /thi_§_t§_r. com/1calDonaid’i`rwno.fststusf€??¢to'i1359480§§2_3616 (“Nevet seen such Republican ANGER &
UNITY as l have concerning the lack of mvestigation on Clinton made Fake Dossier (now $ i 2 000 ,000?),....") (6: 53
AM); int ss lltwitter cotafreallf}onaid'l“ru ` fstatus!924637§00094326734 (“-. the Uranium to Russia deal, the 33 000
plus deleted Ernails, the Comey fix and so much more. Instead they look at phony Trump/Russia,.. ,.") (7 02 AM):
11 s: ).‘-.»'twitter. com/reali)onaid?rem 'statusj924639422066334896 (“.. . ‘collusion,_' which doesnt exist. The Dems
are using this ten‘ible (and bad for our country) Witch Hunt for evil politics but the R's...”) {?:09 AM);
httgs:f/twitter.com!reaiDocatd?rainpfstatusfgzrlov¢12?89476229.23_ ("._..`are now_ fighting back like never before
There is so much GLf`lLT by Democratlelinton, and"now the facts are pouring out.. DO SOMETHING!") (7:17
AM}; Dortald .l. Trump, @realDonaldTrump, waitter (Oct 30, 2017 ' 4: 37 AM),
int ".s]!twittet' Comt'reail}onaid'i"mm !status!924 463492§)4543744l (“Report out that Obama Campaign paid

     

 

   

$972 000 to Fusion GPS. The ti.rm. also got $..,12 400,..000(rea.1ly.?) from... DNC. Nobody knows who OK‘d!'.’..;.) ...Donaid . .. .

.l. Trump, @realDona|dTrump, Twi'rter (Dec 26 2017, 8-: 24 AM),
http_s:/!twitter.condreali)onald'i`rumggstatus/Q¢i§{i¢id!i§i9552§0} 13 (“WOW,_ @foxandfrtends [sic] -‘Dossier is bogus`
Clinton Campaign, DNC funded Dossier. FBI CANNOT (al`_ter all of this time) VE.R{FY CLAIMS IN DOSSIER OF
RUSSIAJTRLZMP COLLUSION FB[ TAINTED.’ And they used this Crooked l-{illary pile of garbage as the basis
for going after the Trump Campaign !”)

19 See e.g., Glenn Kessler, Fncr Checker. 14111:11[\1.'1'1'.€:1 Trump, Russia and the opposition research firm rim by et~
joumalisrs, Wash. ?ost, Aug. 9, 2017 (quoting Sarah Huckabee Sanders, White House News Brieling (Aug. l,
2017) (“The Democrat-l'inked firm Fusion GPS actually took money from the Russian government while it created
the phony dossier -1hat’s been the basis for all of the 7 Russia scandal fake news.").
hit _fi/’z‘wa_ o.st/ZvKR'_Bi‘itid=s`s tw&utm terni:.ci"}!ébd§?b¢i~?$; Charles Fein lehman, Huckabee Sunder;s Hirs Pre.ts
for Nor Covering New Rcts'sia Dossier Tcrrirnon_v, Wash'. Free Beacon (.Iuly_ 27, 2017) (“Often, we have a lot of
media with Russia tirst, but today,, there was public testimony that further discredited the phony dossier that's been
the source of so much of the fake news and conspiracy theories, and _we learned that the iirrn that produced it was

also also [sic] being paid by the Russians..”},_iitto.://frcebeacon.com!notiti_csfsanders--hits'r)ress»dossier/.

     

ii On November 30, the New York Ti`m;es reported that President Trump had personaily urged a Republican
Senato_r to “begin an investigation into Hillary Ciinto`n"s connection with the intelligence»gathering firm Fusion
GPS, which produced a dossier of allegations about Mr_ Trump's ties to Moscow." lonathan Martin, Maggie
Haben'nan, & Alexander Bums, Trump Pre,ssed Top Repub.limn.r m End Senate Russiu Inqtu`r_\ N Y.' Times, Nov.
30, 2017,?1£1 sifwww 11. times conniOl'?flil?:O.¢’usf oiitics!trutn '-ru sia~senate~inte§ htm§ Trump' s personal
lawyer/has even calied for a special counsel investigation of Fusion GPS. See Trnmp law\' er wants separate special
prosecutor 10 probe DOJ-Fusimt cory‘licts, Fox News, Decx l2,201'1‘
him f!www.foxnews.com/nohticsi?t}1’!! l'>:‘ iZ/trumg-lawgcr»waat~senatete-suc€ial-prosecutor-to nrctz'e»doi fusion'
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January 3, 2018
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Respectfully submitted,

Al..t`_.__- 51/'61€'

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